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NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
Vs. Case No.: 11-cr-00159-CVE-2
ORDER OF TEMPORARY
Clint Wesley Menzo Lawrence, DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT
Defendant(s).

Upon motion of the United States of America, it is ORDERED that a detention

hearing/preliminary hearing is:

Set on: =
At: am.)

Before Magistrate Judge:

L Jodi F. Jayne
LJ Christine D. Little
Susan Huntsman

Mark T. Steele

The detention hearing will be held:
Magistrate Courtroom #1 on the 3™ floor of the United States Courthouse,
333 West Fourth Street, Tulsa, OK, 74103.
X Magistrate Courtroom #5 on the 4" floor of the United States Courthouse,
333 West Fourth Street, Tulsa, OK, 74103.
Pending this hearing, Defendant shall be held in custody by the United States Marshal. The United

States Marshal shall produce Defendant at the above- ibed hearing.

Date: 5/22/2025

Mark T. Steele, U.S. Magistrate Judge

IA on Violation Supervised Release Prob Detention (9/2021)
